Case 1:17-cv-24494-DPG Document 1 Entered on FLSD Docket 12/12/2017 Page 1 of 10



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         Miami Division



                                                              Case No: 1:17-cv-24494
         MARC CAESAR

                       Plaintiff,
         vs.

         CITY  OF   MIAMI   and  FLORIDA
         DEPARTMENT OF CORRECTIONS

                  Defendants.
     _________________________________/

                                             COMPLAINT

           COMES NOW Plaintiff, MARC CAESAR (hereafter “Plaintiff”) by and through

     undersigned counsel, states its Complaint against the Defendants, City of Miami

     (hereinafter, “Miami”) and Florida Department of Corrections (hereinafter, “Corrections”)

     as follows:

                                                PARTIES

           1. Plaintiff, Marc Caesar is currently an inmate at the Robert A. Dayton Detention

               Facility, a private prison in Lovejoy, Georgia.

           2. Defendant, City of Miami is and at all times herein mentioned, a City organized

               and existing under the laws of the State of Florida with principle offices located at

               3500 Pan American Dr, Miami, FL 33133, in the City of Miami, County of

               Miami-Dade.




     1 | Complaint                                                              Williams | Raikhelson
     	
     	
Case 1:17-cv-24494-DPG Document 1 Entered on FLSD Docket 12/12/2017 Page 2 of 10



         3. Plaintiff alleges that, at all times herein mentioned, the Defendant City of Miami’s

             Agents were at all times acting within the purpose and scope of such agency and

             employment as City of Miami Employees

         4. Defendant Florida Department of Corrections, is a state entity that operates state

             prisons in the State of Florida and responsible for the custody of inmates in state

             prisons and the supervision of offenders sentenced to probation or parole in the

             community.


                                          JURISDICTION

         5. This Court has jurisdiction pursuant 28 U.S. Code § 1332(a).

         6. In the alternative, this Court has supplemental jurisdiction pursuant to 28 U.S. Code

             § 1367(a).


                                               VENUE
         7. Venue is proper in this District, pursuant to 28 U.S.C. § 1391(b).

         8. All Parties as well as the acts and omissions complained of herein occurred and will

             continue to occur in the Miami-Dade County of the Southern District of Florida.



                                     DEMAND FOR JURY TRIAL

         9. Plaintiff is entitled to, and hereby respectfully demands, a trial by jury on all counts

             stated within and any issues so triable.




                                            ALLEGATIONS

         10. This is a horrible case that based on the negligence of all Defendants, Plaintiff

     2 | Complaint                                                             Williams | Raikhelson
     	
     	
Case 1:17-cv-24494-DPG Document 1 Entered on FLSD Docket 12/12/2017 Page 3 of 10



             suffered serious injuries that persist to this day.

         11. Plaintiff was on a work release program in North Miami in Doral, Florida, and was

             working at Sports Car Wash during the period of late June to early July of 2016.

         12. He signed out and was given a bag lunch to eat, as inmates are not permitted to stop

             in any other location to procure food. The food that was in the bag was a meat

             sandwich.

         13. As Plaintiff was eating the sandwich, he noticed a strange taste to the sandwich, but

             assumed it was due to him smoking a cigar earlier that day.

         14. When Plaintiff got to work, he asked another inmate in the same program if his

             sandwich also tasted strange. The inmate showed him his sandwich and the sight

             was horrific: Maggots crawling around the sandwich, the meat being clearly

             spoiled.

         15. Plaintiff looked at the other sandwich in his brown bag that was given to him by

             the Work Release detention center, and saw that his other sandwich also had

             maggots all over it.

         16. A few hours after hearing the sandwich, Plaintiff got sick at work and had to leave

             early.

         17. Plaintiff informed the guards and police officers at the detention center that he

             reports to, and these officials sent him to a nearby clinic called the “Airport Clinic.”

         18. The medical doctor on staff informed Plaintiff that he had poisoning, and must be

             transported to the hospital.

         19. Upon further inquiry, it turns out that the walk in freezer was constantly

             malfunctioning, and the kitchen staff frequently threw away meat products because

     3 | Complaint                                                              Williams | Raikhelson
     	
     	
Case 1:17-cv-24494-DPG Document 1 Entered on FLSD Docket 12/12/2017 Page 4 of 10



             of this issue. However, this time, the kitchen staff did not dispose of the meat

             products, and the result was sandwiches filled with maggots.

          20. Plaintiff suffered bleeding in his stool, stomach contortions and other physical

             changes, and severe sickness that almost killed him

          21. Currently, Plaintiff has a physically damaged stomach and intestines because of the

             negligence of the Defendants.

          22. He currently suffers every day and frequents medical professionals at the Robert A.

             Dayton Detention Facility because of persistent and constant stomach pain.

          23. Plaintiff suffers both physically and emotionally on a daily basis because of the

             Defendants negligence in this case.

          24. Before filing this lawsuit, Plaintiff, pursuant to Florida’s Sovereign Immunity

             Statute, gave six months’ notice to the City of Miami, Risk Management, Florida

             Department of Financial Services, and the Florida Department of Corrections

     		
                                        COUNT I
                                      NEGLIGENCE
                     (AGAINST FLORIDA DEPARTMENT OF CORRECTIONS)

          25. Plaintiff re-alleges and incorporates by reference as though fully set forth here the

             allegations contained in Paragraphs 1 through 24, and further states the following:

          26. All staff, employees, workers, and prison guards were working as agents of the

             North Miami Corrections Department, Florida Department of Corrections, and/or

             City of Miami.

          27. All staff, employees, workers, and prison guards were working for the benefit of

             North Miami Corrections Department, Florida Department of Corrections, and/or

             City of Miami, and under the color of title of authority bestowed to them by North
     4 | Complaint                                                            Williams | Raikhelson
     	
     	
Case 1:17-cv-24494-DPG Document 1 Entered on FLSD Docket 12/12/2017 Page 5 of 10



             Miami Corrections Department, Florida Department of Corrections, and/or City of

             Miami.

         28. Defendant, Florida Department of Corrections, labels itself as being “. . .

             responsible for the custody of inmates in state prisons and the supervision of

             offenders sentenced to probation or parole in the community.”

         29. Defendant, Florida Department of Corrections, has a duty of care to reasonably

             monitor staff and equipment to ensure that inmate are reasonably safe from harm.

         30. Defendant, Florida Department of Corrections, knew, or should have known, its

             walk-in freezer was constantly breaking, resulting in the spoliation of food items.

         31. Defendant, Florida Department of Corrections, breached its duty of care by failing

             to repair the broken freezer.

         32. Defendant, Florida Department of Corrections, further breached its duty of care by

             serving contaminated meat, filled with maggots, to Plaintiff.

         33. As a result of Florida Department of Corrections’ Negligence, Plaintiff suffered

             severely, and continues to suffer severely

                                         COUNT II
                                       NEGLIGENCE
                                  (AGAINST CITY OF MIAMI)

         34. Plaintiff re-alleges and incorporates by reference as though fully set forth here the

             allegations contained in Paragraphs 1 through 25, and further states the following:

         35. All staff, employees, workers, and prison guards were working as agents of the

             North Miami Corrections Department, Florida Department of Corrections, and/or

             City of Miami.

         36. All staff, employees, workers, and prison guards were working for the benefit of

     5 | Complaint                                                           Williams | Raikhelson
     	
     	
Case 1:17-cv-24494-DPG Document 1 Entered on FLSD Docket 12/12/2017 Page 6 of 10



             North Miami Corrections Department, Florida Department of Corrections, and/or

             City of Miami, and under the color of title of authority bestowed to them by North

             Miami Corrections Department, Florida Department of Corrections, and/or City of

             Miami.

         37. Defendant, City of Miami, has a duty of care to reasonably monitor staff and

             equipment to ensure that inmate are reasonably safe from harm.

         38. Defendant, City of Miami, knew, or should have known, its walk-in freezer was

             constantly breaking, resulting in the spoliation of food items.

         39. Defendant, City of Miami, breached its duty of care by failing to repair the broken

             freezer.

         40. Defendant, City of Miami, further breached its duty of care by serving

             contaminated meat, filled with maggots, to Plaintiff.

         41. As a result of the City of Miami Negligence, Plaintiff suffered severely, and

             continues to suffer severely.

         	
                                COUNT III
     VIOLATION OF U.S. CONSTITUTION - EIGHTH AMENDMENT CRUEL AND
                        UNSUAL PUNISHMENT CLAUSE
            (AGAINST FLORIDA DEPARTMENT OF CORRECTIONS)


         42. Plaintiff re-alleges and incorporates by reference as though fully set forth here the

             allegations contained in Paragraphs 1 through 24, and further states the following:

         43. All staff, employees, workers, and prison guards were working as agents of the

             North Miami Corrections Department, Florida Department of Corrections, and/or

             City of Miami.

         44. All staff, employees, workers, and prison guards were working for the benefit of
     6 | Complaint                                                             Williams | Raikhelson
     	
     	
Case 1:17-cv-24494-DPG Document 1 Entered on FLSD Docket 12/12/2017 Page 7 of 10



             North Miami Corrections Department, Florida Department of Corrections, and/or

             City of Miami, and under the color of title of authority bestowed to them by North

             Miami Corrections Department, Florida Department of Corrections, and/or City of

             Miami.

         45. The Defendant, Florida Department of Corrections, through its agents, showed a

             “deliberate indifference” to Plaintiff, and that caused a substantial harm to him.

         46. A prison official's “deliberate indifference” to a substantial risk of serious harm to

             an inmate violates the Eighth Amendment.

         47. The Either Amendment imposes duties on Defendant’s Florida Department of

             Corrections agents, and not just prisons, who must provide humane conditions of

             confinement. Prison officials must ensure that inmates receive adequate food,

             clothing, shelter, and medical care, and must “take reasonable measures to

             guarantee the safety of the inmates.”

         48. Defendant, Florida Department of Corrections, acted more than just with mere

             indifference, or mere negligence, but acted grossly negligent because they knew of

             the unsanitary and highly dangerous condition of the meat found in that freezer.

                                 COUNT IV
     VIOLATION OF U.S. CONSTITUTION - EIGHTH AMENDMENT CRUEL AND
                        UNSUAL PUNISHMENT CLAUSE
                          (AGAINST CITY OF MIAMI)


         49. Plaintiff re-alleges and incorporates by reference as though fully set forth here the

             allegations contained in Paragraphs 1 through 24, and further states the following:

         50. All staff, employees, workers, and prison guards were working as agents of the

             North Miami Corrections Department, Florida Department of Corrections, and/or

     7 | Complaint                                                            Williams | Raikhelson
     	
     	
Case 1:17-cv-24494-DPG Document 1 Entered on FLSD Docket 12/12/2017 Page 8 of 10



             City of Miami.

         51. All staff, employees, workers, and prison guards were working for the benefit of

             North Miami Corrections Department, Florida Department of Corrections, and/or

             City of Miami, and under the color of title of authority bestowed to them by North

             Miami Corrections Department, Florida Department of Corrections, and/or City of

             Miami.

         52. The Defendant, City of Miami, through its agents, showed a “deliberate

             indifference” to Plaintiff, and that caused a substantial harm to him.

         53. A prison official's “deliberate indifference” to a substantial risk of serious harm to

             an inmate violates the Eighth Amendment.

         54. The Either Amendment imposes duties on Defendant’s City of Miami agents, and

             not just prisons, who must provide humane conditions of confinement. Prison

             officials must ensure that inmates receive adequate food, clothing, shelter, and

             medical care, and must “take reasonable measures to guarantee the safety of the

             inmates.”

         55. Defendant, City of Miami, acted more than just with mere indifference, or mere

             negligence, but acted grossly negligent because they knew of the unsanitary and

             highly dangerous condition of the meat found in that freezer.

         56. Moreover, Defendant, City of Miami, has a duty to train its employees of proper

             hygiene in the kitchen when serving food.

         57. Defendant, City of Miami, breached this duty, endangered the life of Plaintiff, and

             therefore demonstrated a deliberate indifference.




     8 | Complaint                                                            Williams | Raikhelson
     	
     	
Case 1:17-cv-24494-DPG Document 1 Entered on FLSD Docket 12/12/2017 Page 9 of 10



     WHEREFORE Plaintiff requests for judgment against Defendant in an amount to be

     determined at trial, attorney's fees, all costs expended in this action,, and such other and

     further relief, which the court deems just and proper.




     Dated: December 15, 2017


     Respectfully submitted,

                                           By:            Williams | Raikhelson
                                                          14 NE 1st Ave, Suite 1002
                                                          Miami, FL 33132
                                                          Telephone: (305) 766-0219
                                                          Email: aric@aricwilliamslaw.com
                                                          2nd email: aricwilliams@gmail.com

                                                          /s/ Aric N. Williams, ESQ
                                                          Aric N. Williams
                                                          Bar Number: 113724



                                                          Williams | Raikhelson, LLC.
                                                          14 NE 1st Ave, Suite 1002
                                                          Miami, FL 33132
                                                          Telephone:    (954) 895-5566
                                                          Email: arlaw@raikhelsonlaw.com

                                                          /s/ Andre G. Raikhelson, Esq.
                                                          Andre G. Raikhelson
                                                          Bar Number: 1234657




     9 | Complaint                                                           Williams | Raikhelson
     	
     	
Case 1:17-cv-24494-DPG Document 1 Entered on FLSD Docket 12/12/2017 Page 10 of 10




     10 | Complaint                                         Williams | Raikhelson
     	
     	
